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                  UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TEXAS
                        SHERMAN DIVISION

   Timothy Jackson,

                         Plaintiff,

   v.

   Laura Wright, Milton B. Lee, Melisa
   Denis, Mary Denny, Daniel Feehan, A.K.
   Mago, Carlos Munguia, and G. Brint
   Ryan, each in their official capacities as
   members of the Board of Regents for the
                                                    Case No. 4:21-cv-00033-ALM
   University of North Texas System; Rachel
   Gain; Ellen Bakulina; Andrew Chung;
   Diego Cubero; Steven Friedson;
   Rebecca Dowd Geoffroy-Schwinden;
   Benjamin Graf; Frank Heidlberger;
   Bernardo Illari; Justin Lavacek; Peter
   Mondelli; Margaret Notley; April L.
   Prince; Cathy Ragland; Gillian
   Robertson; Hendrik Schulze; Vivek
   Virani; and Brian F. Wright,
   Defendants.



  PLAINTIFF’S MOTION FOR EXPEDITED DISCOVERY OR, IN THE ALTERNATIVE,
      PETITION TO CONDUCT DEPOSITIONS TO PERPETUATE TESTIMONY

         Plaintiff Timothy Jackson respectfully moves under Fed. R. Civ. P. 26(d)(1) to

  conduct targeted and limited discovery on an expedited basis to identify unknown

  defendants who have defamed him. The requested, limited discovery is urgent due to

  the one-year Texas statute of limitations on defamation claims, which will almost cer-

  tainly run before discovery commences in this case.

         In the alternative, Jackson petitions this Court under Fed. R. Civ. P. 27 to con-

  duct depositions to perpetuate testimony.



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    I.      INTRODUCTION

         A. The University of North Texas Suppresses Professor Timothy Jackson’s
            Constitutionally Protected Speech in Response to his Ongoing
            Defamation

            Plaintiff Timothy Jackson is Distinguished University Research Professor of

  Music Theory at the University of North Texas (UNT). He has sued the Regents (Re-

  gents Defendants) of UNT in their official capacity for violating his rights under the

  First and Fourteenth Amendments of the United States Constitution. Jackson has also

  brought defamation claims against 18 additional defendants (the Defamation Defend-

  ants) under this Court’s supplemental jurisdiction.

            This dispute arose after Jackson, with his colleagues at UNT, published a sym-

  posium on July 24, 2020 in the 12th Volume (the Symposium) of the Journal for Schen-

  kerian Studies (Journal). The Symposium collected 15 scholarly contributions, some

  critical and some in support of a music theory scholar named Philip Ewell, a professor

  at Hunter College at the City University of New York who identifies as black. See Dk#1-

  4, Ex. C. Ewell had opined in a plenary lecture of a prominent academic society, the

  Society for Music Theory, and in other venues that “music theory is white”; he de-

  nounced the “figurative and even more deep-seated whiteness in music theory”; and

  he has generally condemned the classical music tradition and music theory as “racist.”

  Dk#1 (Complaint), ¶ 32. In particular, Ewell singled out the late-19th century/early-

  20th century Jewish music theorist Heinrich Schenker, sometimes referred to as the

  “Albert Einstein of music theory,” as a “virulent racist,” who “believed in biological

  racism,” and whose racism “linked . . . repugnant views on people to his music theo-

  ries.” Id., ¶¶ 33-34.


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         Heinrich Schenker is the namesake of the Journal of Schenkerian Studies,

  which Timothy Jackson serves as a founding member of its editorial staff and board.

  Id., ¶ 37. The Journal is run by the Center for Schenkerian Studies (Center) which Jack-

  son also directs. Professor Ewell criticized scholars such as Jackson, who as “white

  persons . . . severed Schenker’s racist convictions from his music theories in order to

  promote Schenkerism.” Id., ¶ 35. The Journal published its Symposium in response to

  these charges of what Ewell called the “whitewashing” of music theory. Id., ¶ 45.

         In all likelihood, this would and should have remained a vitriolic but healthy

  and open debate within academia. Instead, UNT and the Regents Defendants as state

  actors placed their heavy thumbs on the scale to repress academic freedom and con-

  stitutionally protected speech as soon as cries went out over Twitter and other social

  media platforms condemning Jackson and the Journal as “racist.”

         Within days of publication of the Symposium, UNT announced an investigation

  into Jackson and the Journal in the name of “combating racism.” Id., ¶ 58 and Dk# 1-

  15, Ex. N. Students of the Division of Music History, Theory, and Ethnomusicology at

  UNT and all but three members of the faculty, including Defamation Defendants Ellen

  Bakulina, Diego Cubero, and Andrew Chung who had themselves participated in the

  publication, condemned Jackson for “racist actions.” Id., ¶¶ 54–57.

         Yet the supposed “racist actions” of Jackson that the faculty and students al-

  legedly deplored consisted of nothing more than publishing viewpoints with which

  they disagreed, especially Jackson’s own article in the Symposium, which they con-

  demned as “particularly racist and unacceptable.” Id., ¶¶ 54-57; Dk#1-5, Ex. D at

  JACKSON000227. The Defamation Defendants, among others, circulated petitions and


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  open letters calling for Professor Jackson to be fired, for the Journal to be shut down,

  and the Center for Schenkerian Studies to be canceled. Id. UNT and the Regents De-

  fendants, as state actors, willingly obliged.

         Rather than enforce UNT’s own stated policies and rules upholding academic

  freedom, UNT convened an arbitrary “Ad Hoc Panel” to conduct a so-called investiga-

  tion, the predetermined conclusion of which was to condemn Jackson, and Jackson

  alone, for “editorial mismanagement.” Id., ¶¶ 58–59; Dk#1-22, Ex. U. The Ad Hoc

  Panel followed no established rules or policies of the university. Id. Meanwhile, UNT

  ignored repeated grievance complaints submitted by Jackson under established UNT

  rules and procedures, in which he requested protection from his colleagues' retalia-

  tion due to nothing more than the exercise of protected speech. Id. ¶ 5; Dk#1-7, Ex. F.

  After excluding evidence and without waiting for Jackson to respond, UNT informed

  Jackson that he would be removed from the Journal and did so remove him. Id., ¶ 60;

  Dk#1-5, Ex. D, Dk#1-22, Ex. U.

     B. Professor Timothy Jackson’s Need for Expedited Discovery

         On information and belief, the graduate student agitation was organized and

  coordinated by faculty from within and outside UNT. This collaboration is the reason

  Timothy Jackson seeks expedited discovery. Professor Jackson cannot currently iden-

  tify exactly who, other than the Defamation Defendants, organized the petitions call-

  ing for his cancelation in the name of defamatory and baseless accusations of “racism”

  and “racist actions.” Id., Dk1-5, Ex. D at JACKSON000227.

         The Defamation Defendants either stated directly or publicly endorsed the fol-

  lowing defamatory statement, among others:


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          [UNT] should also extend . . . investigati[on] [to] past bigoted behav-
          iors by faculty and, by taking this into account, the discipline and po-
          tential removal of faculty who used the JSS platform to promote rac-
          ism. Specifically, the actions of Dr. Jackson — both past and pre-
          sent — are particularly racist and unacceptable.

  Id.

         It is only known at this time that Defamation Defendant Rachel Gain published

  this defamatory attack to Twitter on July 27, 2020, and she apparently led this illiberal

  movement to repress academic freedom. Id. at Jackson000227. After she did so, the

  other Defamation Defendants publicly piled on, endorsed her defamatory statements,

  and petitioned UNT to “publicly condemn [the Journal]” and fire Professor Jackson.

  Id. at Jackson000228.

         Jackson reasonably believes that other faculty, from within or outside UNT,

  either authored or coordinated these efforts. One indication of the outside influence

  on these defamatory publications is an email dated July 30, 2020 of Defamation De-

  fendant Frank Heidlberger. Exhibit 1. Heidlberger indicated that Eileen Hayes, for-

  mer division chair and now Dean of the College of Arts and Communication at the

  University of Wisconsin Whitewater, participated in editing at least some of the peti-

  tions. Id. Timothy Jackson is entitled to discovery as to whether, and to what extent,

  individuals or entities outside of the State of Texas, with minimum contacts projected

  into the state, acted to harm Jackson within the State of Texas.

         On July 29, 2020, Jackson also learned that President of the Graduate Associa-

  tion of Musicologists unt Theorists at UNT, Peter Kohanski, was circulating a version

  of Defamation Defendant Gain’s petition, exhorting fellow graduate students to sign

  it, and planned to send it to the Dean of the Division over their signatures “before the


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  end of the week.” See Exhibit 2. Although the authors and signatories of this defama-

  tory petition were apparently disclosed to UNT, UNT has concealed their identities

  and the authorship of this petition, apparently, as Kohanski said, to “keep[] the signa-

  tories anonymous if it becomes necessary . . . to circulate the letter.” Id. The signato-

  ries accused Jackson of “racist, sexist, and abusive behavior in his many capacities”

  and, no less, “extortion through grade manipulation and threats to students’ careers

  and reputations.” Id.

         It is also suspected that professors from within the Society for Music Theory,

  a national professional society, aided and abetted the formulation and publication of

  these defamatory statements. The leadership of the society openly pressured individ-

  uals to generate parallel petitions and sign them at other universities. Dk1-1, ¶¶ 92-

  93 and Dk#1-13, Exhibit L. On information and belief, the Society for Music Theory

  directed its activity into Texas to get Timothy Jackson fired, the Journal eliminated,

  and the Center canceled by contributing to and coordinating graduate student and

  faculty efforts to defame Jackson. See, e.g., Dk#1-5 at JACKSON000225; Dk#1-13.

     C. Expedited Discovery Is Urgent

         Expedited discovery is urgent because Texas law requires Professor Jackson

  to identify his defamers, regardless of where they reside, within one year of their de-

  famatory statements, if he is to vindicate his rights. There is a one-year statute of lim-

  itations for defamation in the state of Texas, which runs from the date of the defama-

  tory publication. Tex. Civ. Prac. & Rem. Code § 16.002. Certain procedural require-

  ments run from the date the Plaintiff “receiv[es] knowledge of the publication.” See

  Tex. Civ. Prac. & Rem. Code § 73.055(b-c).


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           Professor Jackson therefore seeks expedited discovery; or, in the alternative,

  he petitions for leave to conduct depositions in order to perpetuate testimony so that

  he can discover the identity of those responsible for his defamation before the statute

  of limitations expires.

   II.     ARGUMENT

         A. Timothy Jackson Meets the Good Cause Standard for Expedited
            Discovery

           Courts grant leave to conduct expedited discovery upon a showing of good

  cause. “Federal Rule of Civil Procedure 26(d)(1) provides that a party may not seek

  discovery from any source before the parties have a conference, except in proceed-

  ings preempted by Rule 26(a)(1)(B), or when authorized by the Federal Rules, by stip-

  ulation, or by court order” (emphasis added). Cothran v. Koomson, No. 4:20-CV-481-

  SDJ, 2020 U.S. Dist. LEXIS 204840, at *3–4 (E.D. Tex. Nov. 3, 2020) (granting ex parte

  motion for expedited discovery to serve third-party subpoenas).

           In the Fifth Circuit, “[e]xpedited discovery is permitted upon a showing of

  good cause.” Gutierrez v. United States, No. L-12-18, 2012 U.S. Dist. LEXIS 201704, at

  *3 (S.D. Tex. Mar. 12, 2012) (citing El Pollo Loco, S.A. de C.V. v. El Pollo Loco, Inc., 344

  F. Supp. 2d 986, 991 (S.D. Tex. 2004); see also Cothran v. Koomson at *3, supra, (col-

  lecting cases for holding “several other federal courts within the Fifth Circuit, includ-

  ing the Eastern District of Texas, have used a ‘good cause’ standard to determine

  whether a party is entitled to early discovery”); 8A Charles Alan Wright, Arthur R.

  Miller, Mary Kay Kane, & Richard L. Marcus, Federal Practice and Procedure § 2046.1

  (3d ed. 2010) (“Although the rule does not say so, it is implicit that some showing of

  good cause should be made to justify such an order . . .”).

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         Here, good cause is shown by the requirement that Plaintiff must join any ad-

  ditional Defamation Defendants within the one-year window for Texas defamation

  claims. Tex. Civ. Prac. & Rem. Code § 16.002.

         No later than July 27, 2020, defamatory statements circulated, baselessly ac-

  cusing Jackson of “racist behavior” for no other reason than scholarly disagreement.

  See Ex. 2. It is also clear that the defamatory statements circulated by the Defamation

  Defendants evolved. The petition published to Twitter on July 27, 2020 by Defamation

  Defendant Rachel Gain differs from that circulated by Mr. Kohanski two days later.

  Compare Dk#1-5 at JACKSON000227 with Ex. 2.

         The Court should therefore grant Jackson expedited, limited discovery as nec-

  essary to identify, at minimum, what was said about him and by whom before the

  statute of limitations expires on July 27, 2021.

         Given the pace of litigation, especially in the time of COVID-19, waiting for dis-

  covery powers in the ordinary course of this civil action, which can begin only after

  the parties’ Rule 26(f) conference, will almost certainly foreclose these claims.

         By contrast, no Defendants will be prejudiced. The expedited discovery will

  simply reveal information necessary to resolve this case. Therefore, the Court should

  grant the limited discovery set forth in Section II.C below.

     B. In the alternative, the Court Should Grant Plaintiff Leave to Conduct a
        Limited Number of Depositions to Perpetuate Testimony

         In the alternative, Timothy Jackson petitions to perpetuate testimony under

  Fed. R. Civ. P. 27:

           A person who wants to perpetuate testimony about any matter cog-
           nizable in a United States court may file a verified petition in the dis-
           trict court for the district where any expected adverse party resides.

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          The petition must ask for an order authorizing the petitioner to de-
          pose the named persons in order to perpetuate their testimony.

  See In re Drake, No. 4:17-MC-69-ALM, 2017 U.S. Dist. LEXIS 204330, at *3–*4 (E.D.

  Tex. Oct. 2, 2017). The standards are straightforward. The petitioner must:

        be stated in the title to the petition;

        “expect[] to be a party to an action cognizable in a United States court but
         [which he] cannot presently bring … or cause it to be brought”;

        state the subject matter of the expected action and his interest;

        state the facts that the petitioner wants to establish by the proposed testimony
         and the reasons to perpetuate;

        state the names or description of the persons whom the petitioner expects to
         be adverse parties and their addresses, so far as known;

        state the name, address, and expected substance of the testimony of each pro-
         posed deponent.

  Id., at *3–*4. The petitioner must also show “that the perpetuation of testimony is

  necessary to prevent the evidence from being lost.” In re Caraway, 303 Fed. App’x 220,

  221 (5th Cir. 2008).

         Here, Professor Jackson satisfies these conditions. He has verified this Petition

  and states his name in its caption. He is already party to the action, and seeks to per-

  petuate testimony to join, if necessary, additional Defamation Defendants who cannot

  presently be brought into the case because their identity is unknown or because the

  evidence necessary to plead a claim against them is unknown.

         The subject matter of the expected action is the defamatory statements made

  against Jackson and republished by UNT, including but not limited to a so-called Re-

  port of the Ad Hoc Panel published November 25, 2020. Dk#1-5.




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         Timothy Jackson also identifies the names of expected adverse parties in Sec-

  tion II.C below: in particular, Eileen Hayes and Benjamin Brand. It is expected that the

  testimony sought will reveal additional Defendants, for example, within the Society

  for Music Theory, who have projected their defamatory publications into the state of

  Texas with the express purpose of harming Timothy Jackson in Texas.

         The expected substance of the deposition testimony is the identity of those

  who organized the various petitions against Timothy Jackson in the July 2020 publi-

  cations defaming him for “racist actions” and “racist behaviors,” as well as the persons

  responsible for authoring them, and the substance of their defamatory statements. It

  is also expected that the discovery will reveal additional defamatory statements.

         Without the perpetuation of this testimony, evidence is likely to be lost. The

  as-yet unknown defendants may either lose or otherwise destroy, whether inadvert-

  ently or otherwise, relevant evidence necessary for this case.

     C. The Limited Expedited Discovery Plaintiff Seeks

         Plaintiff seeks to depose the three individuals listed below:

         1) Rachel Gain

         Rachel Gain is a Defamation Defendant in the above-captioned case.

         Subject Matter:

         Gain tweeted a version of a student petition on July 27, 2020, defaming Timo-

  thy Jackson and appears to have led this effort. It is expected that she can identify

  authors and collaborators in publishing these defamatory statements and can identify

  other authors were involved in publishing or collaborated in publishing the defama-

  tory statements against Timothy Jackson. It is expected that her testimony will


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  identify additional Defamation Defendants to be joined in this civil action before the

  statute of limitations expires on July 27, 2021.

         Contact: Gain can be reached through counsel, Assistant Attorney General

  Matthew Bohuslav, who has appeared on her behalf.

         2) Levi Walls

         Levi Walls is a graduate student of UNT and was the graduate student editor

  of the Journal until July 27, 2020.

         Subject Matter: Levi Walls quit as graduate student editor of the Journal on

  July 27, 2020 after the social-media mob attacked Timothy Jackson and it became

  clear that UNT would support their assault on academic freedom and protected

  speech with the full authority of the state. Under this pressure, Walls wrote to Jackson

  on January 25, 2020: “It’s very worrying, especially as I don’t want my career to be

  ruined before it properly began. I have a family to take care of now.” Dk#1-1, ¶ 135.

  He followed up on January 27, 2020 by publicly renouncing his own work on the Jour-

  nal, professing himself an acolyte of Philip Ewell, and denouncing Timothy Jackson,

  whom he had only a few months earlier asked to be his dissertation advisor. Dk#1-6.

  Significant portions of Walls' apologia (published to Facebook) are flatly contradicted

  by his own contemporary emails in the internal correspondence of the Journal. Dk#1-

  6. He was nevertheless feted as a hero of the social media mob and UNT's faculty.

  Walls also claimed to have submitted a so-called “whistleblower” complaint at some

  point in February 2020 to Division Chair Benjamin Brand, apparently alleging that

  Timothy Jackson insufficiently understood “politically correct discourse and race re-

  lations” and forced him to publish articles against his will, and that Timothy Jackson


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  committed so-called “racist actions” as referred to in the Defamation Defendant’s pe-

  titions, which, on information and belief, Walls endorsed. See Dk#1-1, ¶¶ 30-31. Walls

  is expected to testify as to the identity of authors and collaborators in the defamatory

  petitions circulated in July 2020. It is expected that these authors and collaborators

  will be joined as Defamation Defendants before the statute of limitations expires.

         Contact:

         915 Collier Street

         Denton, Texas 76201

         3) Peter Kohanski

         Peter Kohanski was at all relevant times President of the Graduate Association

  of Musicologists unt Theorists at UNT.

         Subject Matter: Kohanski circulated a notification on July 29, 2020, soliciting

  signatures for a petition calling for Timothy Jackson to be fired, the Journal to be elim-

  inated, and the Center to be canceled. Exhibit 2. He is expected to reveal signatories

  to, authors of, and collaborators in the petition accusing Timothy Jackson of “racist

  actions” and “racist behaviors.” It is expected that these authors and collaborators

  will be joined as Defamation Defendants to the extent additional UNT faculty or fac-

  ulty beyond UNT are identified.

         Contact:

         426 Audra Lane Apt. H

         Denton, Texas 76209-6339




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         4) Benjamin Brand

         Benjamin Brand was, at all relevant times, the Chair of the Division of Music

  History, Theory, and Ethnomusicology and Timothy Jackson’s immediate supervisor.

         Subject Matter: It is expected that Brand's testimony will reveal defamatory

  statements sufficient to join him as a Defendant in this case. He was the alleged recip-

  ient of a so-called “whistleblower” complaint of Graduate Student Editor Levi Walls

  at some point in February 2020. Walls purports to have alleged that Timothy Jackson

  insufficiently understood “politically correct discourse and race relations,” among

  other supposed “racist actions” as referred to in the Defamation Defendant’s peti-

  tions. See Dk#1-1, ¶¶ 30–31. Although Brand did not endorse the defamatory peti-

  tion, he gave live testimony to the so-called “Ad Hoc Panel” concerning alleged whis-

  tleblowing activity in February 2020 (which he never reported as whistleblowing at

  the time). The “Ad Hoc Panel” credited Brand's condemnation of Jackson. Yet contem-

  porary documents demonstrate that references to “whistleblowing” are demonstra-

  bly false. Brand later claimed that Timothy Jackson had engaged in “editorial misman-

  agement” to justify his removal from the Journal. Because no such “mismanagement”

  took place and such allegations are directly disproven by contemporaneous docu-

  ments, it is expected that Brand will give testimony identifying his own role and that

  of other as-yet-unjoined faculty in the defamation of Timothy Jackson sufficient to

  join Brand and others as Defamation Defendants.

         Contact:

         4111 Cole Avenue #31

         Dallas, Texas 75204


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           5) Frank Heidlberger

           Frank Heidlberger is a Defamation Defendant.

           Subject Matter: Frank Heidlberger sent an email on July 30, 2021 announcing

  not only, “I enthusiastically endorse this [defamatory faculty] letter”; but he also an-

  nounced that Dean of the College of Arts and Communication at the University of Wis-

  consin Whitewater was leading so-called “antiracism” efforts outside of Texas and

  was projecting these activities into the State of Texas to edit one of the petitions which

  included defamatory statements against Timothy Jackson. Exhibit 1. It is expected

  that Heidlberger will testify as to other participants, within and outside UNT, who

  participated in this defamatory action and to the substance of their defamatory state-

  ments.

           Contact: Frank Heidlberger can be reached through counsel, Assistant Attor-

  ney General Matthew Bohuslav, who has appeared on his behalf.

           6) Written Discovery

           In addition, Plaintiff petitions and moves for leave to request the following

  documents, either through Requests for Production under Fed. R. Civ. P. 30, or under

  a Subpoena Duces Tecum through his Petition under Fed. R. Civ. P. 27.

           1) All documents concerning evidence received by or considered by the “Ad

  Hoc Panel,” including but not limited to transcripts or recordings of interviews or

  other correspondence with witnesses or concerning the weighing of witness state-

  ments.

           2) All correspondence between Levi Walls and Benjamin Brand concerning

  Timothy Jackson from January 1, 2020, to present, including but not limited to any


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  alleged efforts at “whistleblowing” related to the Journal or allegedly racist actions or

  behaviors of Timothy Jackson.

         3) All documents in the possession, custody, or control of each witness, includ-

  ing those disseminated through social media of any kind, concerning communications

  or statements made or received concerning Timothy Jackson or the Journal of Schen-

  kerian Studies from July 1, 2019, through present.

         4) All drafts or versions of petitions or open letters as referred to by Frank

  Heidlberger, as set forth in Exhibit 1, whether or not submitted to any administrative

  official or faculty member of UNT or otherwise published, including a list of all signa-

  tories to any such document.

         5) All drafts or versions of petitions or open letters as referred to by Peter Ko-

  hanski, as set forth in Exhibit 2, whether or not submitted to any administrative offi-

  cial or faculty member of UNT or otherwise published, including a list of all signato-

  ries to any such document.




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                                         Respectfully submitted,

   Date: March 8, 2021                   /s/Michael Thad Allen
                                         Michael Thad Allen
                                         D. Conn. Bar No. CT29813
                                         admitted pro hac vice
                                         Lead Attorney
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                                         (512) 686-3941 (fax)
                                         jonathan@mitchell.law

                                         Counsel for Plaintiff




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                            CERTIFICATE OF CONFERENCE

         We certify that we have complied with the meet and confer requirements in

  Local Rule CV-7(h), and that counsel for the defendants opposes this motion. We also

  certify that we conducted the personal conference required by Local Rule CV-7(h) on

  March 5, 2021 over the telephone, and that Michael Thad Allen, lead counsel for the

  plaintiff, Jonathan F. Mitchell, local counsel for the plaintiff, and Matthew Bohuslav,

  counsel for the defendants, participated in the conference. We were unable to reach

  agreement because Attorney Bohuslav's position on behalf of his client is that no dis-

  covery should commence until after the parties 26(f) conference, and our discussions

  have conclusively ended in an impasse.

                                                /s/ Michael Thad Allen
                                                Michael Thad Allen
                                                Lead Counsel for the Plaintiff

                                                 /s/ Jonathan F. Mitchell
                                                Jonathan F. Mitchell
                                                Local Counsel for the Plaintiff




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                                CERTIFICATE OF SERVICE

   I hereby certify that on the date specified in the caption of this document, I elec-
   tronically filed the foregoing with the Clerk of Court, to be served on all parties of
   record via the CM/ECF system.

                                               /s/Michael Thad Allen
                                               Michael Thad Allen




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